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June 9, 2020

By ECF

Honorable Laura Taylor Swain                                  MEMO ENDORSED
United States District Judge
Southern District of New York

Re: United States v. Michael Ackerman, 20 Cr. 93 (LTS)

Dear Judge Swain:

     The Court recently granted Mr. Ackerman permission to travel from Ohio to Madison,
Wisconsin, from June 17 to June 21, 2020, for necessary medical treatment. I write here to
respectfully request that the Court permit his travel to begin one day earlier, on June 16 (he still
intends to return on June 21). Mr. Ackerman has determined that he’ll need one extra travel day
to complete his trip. The Government and Pretrial Services consent to this request.

     Thank you for your attention to this matter.

Sincerely,

/s/ Jonathan Marvinny
Jonathan Marvinny
Assistant Federal Defender
212.417.8792
jonathan_marvinny@fd.org

cc: Jessica Greenwood, Esq. (Assistant United States Attorney)
    Natasha Ramesar (Pretrial Services)


The requested modification is granted. DE# 20 resolved.
SO ORDERED.
6/9/2020
/s/ Laura Taylor Swain, USDJ
